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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

DEBBIE VINCENT                                                                PLAINTIFF

V.                            CASE NO. 3:20-CV-133-BD

ANDREW SAUL, Commissioner,
SOCIAL SECURITY ADMINISTRATION                                             DEFENDANT

                                         ORDER

       Plaintiff Debbie Vincent has moved for an award of attorney’s fees under the

Equal Access to Justice Act (EAJA), 28 U.S.C. ' 2412. (Doc. No. 21) She seeks fees and

expenses in the amount of $2,652.72. (Id.) The Commissioner does not contest the

number of attorney and paralegal hours expended, the requested hourly rates, or the

amount of expenses. (Doc. No. 23)

       Because there is no objection to granting attorney’s fees and expenses, Ms.

Vincent’s motion (Doc. No. 21) is GRANTED. The Commissioner is directed to pay the

total sum of $2,652.72 in fees and expenses, subject to offset if she has outstanding

government debt.

       IT IS SO ORDERED, this 7th day of May, 2021.


                                             ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE
